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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                                CASE NO.

 ANNIE Y. FARRO,

       Plaintiff,

 v.

 SYNDICATED OFFICE SYSTEMS, INC.,
 d/b/a CENTRAL FINANCIAL CONTROL,

       Defendant.

 _________________________________________/

                                   COMPLAINT
                                  JURY DEMAND

       1.     Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15

 U.S.C. §1692 et seq. (“FDCPA”), the Florida Consumer Collection Practices Act,

 Fla. Stat. §559.55 et seq. (“FCCPA”), and the Telephone Consumer Protection Act,

 47 U.S.C §227, et seq. (“TCPA”).

                          JURISDICTION AND VENUE

       2.     This Court has jurisdiction under 28 U.S.C. §§1331, 1337, 1367 and

 15 U.S.C. §1692k. Venue in this District is proper because Plaintiff resides here

 and Defendant placed telephone calls into this District.

                                      PARTIES
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        3.    Plaintiff, ANNIE Y. FARRO, is a natural person, and citizen of the

 State of Florida, residing in Palm Beach County, Florida.

        4.    Defendant, SYNDICATED OFFICE SYSTEMS, INC., d/b/a

 CENTRAL FINANCIAL CONTROL, is a corporation and citizen of the State of

 Texas with its principal place of business at Suite 100, 13737 Noel Road, Dallas,

 Texas 75240.

        5.    Defendant regularly uses the mail and telephone in a business the

 principal purpose of which is the collection of debts.

        6.    Defendant regularly collects or attempts to collect debts for other

 parties.

        7.    Defendant is a “debt collector” as defined in the FDCPA.

        8.    Defendant was acting as a debt collector with respect to the collection

 of Plaintiff’s alleged debt.

                                FACTUAL ALLEGATIONS

        9.    Defendant sought to collect from Plaintiff an alleged debt arising from

 transactions incurred for personal, family or household purposes.

        10.   Defendant left the following messages on Plaintiff’s voice mail on her

 cellular telephone on or about the dates stated:

        February 7, 2008 – Pre-Recorded Message
        …00-7192 between 8 AM and 5 PM Monday through Friday at 800-300-
        7192. Thank you. Goodbye.



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       February 11, 2008 – Pre-Recorded Message
       …0-300-7192 between the hours of 8 AM and 5 PM Monday through
       Friday. Once again the number to call is 800-300-7192. Thank you.

       April 10, 2008
       This message is for Leonardo Cueto. This is Rayna from CFC. Return my
       call 1-800-300-7192. Thank you.

       April 11, 2008 – Pre-Recorded Message
       …00-7192 between 8 AM and 5 PM Monday through Friday at 800-300-
       7192. Thank you. Goodbye.

       April 22, 2008 – Pre-Recorded Message
       …00-7192 between 8 AM and 5 PM Monday through Friday at 800-300-
       7192. Thank you. Goodbye.

       April 28, 2008
       This message is for Leonardo. Return the call to Central Financial Control.
       1- 800-300-7192. Thank you.

       May 1, 2008 – Pre-Recorded Message
       …00-7192 between 8 AM and 5 PM Monday through Friday at 800-300-
       7192. Thank you. Goodbye.

       May 2, 2008
       Message for Leonardo. If you could return the call to Central Financial. The
       number is 1-800-300-7192 and today is the second.

       May 8, 2008 – Pre-Recorded Message
       …00-7192 between 8 AM and 5 PM Monday through Friday at 800-300-
       7192. Thank you. Goodbye.

       June 20, 2008 – Pre-Recorded Message
       …00-7192 between 8 AM and 5 PM Monday through Friday at 800-300-
       7192. Thank you. Goodbye.

       June 25, 2008 – Pre-Recorded Message
       …with you regarding this personal business matter. Thank you.




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       July 1, 2008 – Pre-Recorded Message
       …with you regarding this personal business matter. Thank you.


       July 18, 2008 – Pre-Recorded Message
       I have an important message from Central Financial Control for Annie Farro
       regarding a personal business matter. Please call 800-300-7192 between the
       hours of 8 AM and 5 PM Monday through Friday. Once again the number to
       call is 800-300-7192. Thank you.


       July 21, 2008 – Pre-Recorded Message
       This is an important message from Central Financial Control. Please call us
       at 1-800-300-7192 so that we can speak with you regarding this personal
       business matter. Thank you.

       August 27, 2008 – Pre-Recorded Message
       I have an important message from Central Financial Control for – regarding
       a personal business matter. Please call – between the hours of 8 AM and 5
       PM Monday through Friday. Once again the number to call is – . Thank you.

       February 17, 2009 – Pre-Recorded Message
       This is a message from Central Financial Control. Please call us at 1-800-
       345-4261. So we can speak with you regarding this personal business matter.
       Thank you.

       April 29, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Annie Farro regarding a
       personal business matter. Please call 800-345-4261 between the hours of 8
       AM and 5 PM Monday through Friday. Once again the number to call is
       800-345-4261. Thank you.

       May 21, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Annie Farro regarding a
       personal business matter. Please call 800-345-4261 between the hours of 8
       AM and 5 PM Monday through Friday. Once again the number to call is
       800-345-4261. Thank you.

       June 16, 2009 – Pre-Recorded Message



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       I have a message from Central Financial Control for Annie Farro, regarding
       a personal business matter. Please call 800-345-4261 between the hours of 8
       AM and 5 PM Monday through Friday. Once again the number to call is
       800-345-4261. Thank you.

       July 15, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Annie Farro regarding a
       personal business matter. Please call 800-345-4261 between the hours of 8
       AM and 5 PM Monday through Friday. Once again the number to call is
       800-345-4261. Thank you.

       July 16, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Annie Farro regarding a
       personal business matter. Please call 800-345-4261 between the hours of 8
       AM and 5 PM Monday through Friday. Once again the number to call is
       800-345-4261. Thank you.

       August 13, 2009 – Pre-Recorded Message
       I have a message from Central Financial Control for Annie Farro regarding a
       personal business matter. Please call 800-345-4261 between the hours of 8
       AM and 5 PM Monday through Friday. Once again the number to call is
       800-345-4261. Thank you.

       October 12, 2009 – Pre-Recorded Message
       This is a message for Annie Farro. If you are not Annie Farro please hang up
       or disconnect. If you are Annie Farro, please continue to listen to this
       message. There will now be a three second pause in this message. By
       continuing to listen to this message, you acknowledge you are Annie Farro.
       Annie Farro, you should not listen to this message so that other people can
       hear it as it contains personal and private information. There will now be a
       three second pause in this message, to allow you to listen to this message in
       private. This is a message from Central Financial Control. This
       communication is from a debt collector. This is an attempt to collect a debt,
       and any information obtained will be used for that purpose. Please contact us
       about a business matter at 800-345-4261. Thank you.

       11.   Defendant left similar or identical messages on other occasions.

 (Collectively, “the telephone messages”).



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       12.    The messages are “communications” as defined by 15 U.S.C.

 §1692a(2). See Berg v. Merchs. Ass'n Collection Div., Case No. 08-60660-Civ-

 Dimitrouleas/Rosenbaum, 2008 U.S. Dist. LEXIS 94023 (S.D. Fla. Oct. 31, 2008).

       13.    Defendant failed to inform Plaintiff in the messages that the

 communication was from a debt collector and failed to disclose the purpose of

 Defendant’s messages.

       14.    Defendant used an automatic telephone dialing system or a pre-

 recorded or artificial voice to place telephone calls to Plaintiff’s cellular telephone.

       15.    Plaintiff did not expressly consent to Defendant’s placement of

 telephone calls to Plaintiff’s cellular telephone by the use of an automatic

 telephone dialing system or a pre-recorded or artificial voice prior to Defendant’s

 placement of the calls.

       16.    None of Defendant’s telephone calls placed to Plaintiff were for

 “emergency purposes” as specified in 47 U.S.C § 227 (b)(1)(A).

       17.    Defendant willfully or knowingly violated the TCPA.

                            COUNT I
         FAILURE TO DISCLOSE STATUS AS DEBT COLLECTOR

       18.    Plaintiff incorporates Paragraphs 1 through 17.

       19.    Defendant failed to disclose in the telephone messages that it is a debt

 collector in violation of 15 U.S.C. §1692e(11). See Foti v. NCO Fin. Sys., 424 F.

 Supp. 2d 643, 646 (D.N.Y. 2006) and Belin v. Litton Loan Servicing, 2006 U.S.

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 Dist. LEXIS 47953 (M. D. Fla. 2006) and Leyse v. Corporate Collection Servs.,

 2006 U.S. Dist. LEXIS 67719 (D.N.Y. 2006).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT II
     FAILURE TO MAKE MEANINGFUL DISCLOSURE OF IDENTITY

       20.    Plaintiff incorporates Paragraphs 1 through 17.

       21.    Defendant placed telephone calls to Plaintiff without making

 meaningful disclosure of its identity when it failed to disclose that it is a debt

 collector and the purpose of Defendant’s communication in the telephone

 messages in violation of 15 U.S.C §1692d(6). See Valencia v The Affiliated Group,

 Inc., Case No. 07-61381-Civ-Marra/Johnson, 2008 U. S. Dist. LEXIS 73008,

 (S.D.Fla., September 23, 2008); Wright v. Credit Bureau of Georgia, Inc., 548 F.

 Supp. 591, 593 (D. Ga. 1982); and Hosseinzadeh v. M.R.S. Assocs., 387 F. Supp.

 2d 1104 (D. Cal. 2005).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

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               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                       COUNT III
  TELEPHONIC HARASSMENT AND ABUSE BY EXCESSIVE CALLING

       22.     Plaintiff incorporates Paragraphs 1 through 17.

       23.     Defendant caused Plaintiff’s telephone to ring repeatedly or

 continuously with the intent to annoy, abuse or harass in violation of 15 U.S.C

 §1692d(5). See Sanchez v. Client Servs., 520 F. Supp. 2d 1149, 1160-1161 (N.D.

 Cal. 2007).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

               a.    Damages;

               b.    Attorney’s fees, litigation expenses and costs of suit; and

               c.    Such other or further relief as the Court deems proper.

                         COUNT IV
    TELEPHONIC HARASSMENT AND ABUSE FOR UNAUTHORIZED
             CALLS TO A CELLULAR TELEPHONE

       24.     Plaintiff incorporates Paragraphs 1 through 17.

       25.     Defendant engaged in conduct the natural consequence of which is to

 harass, oppress, or abuse by using an automatic telephone dialing system or pre-

 recorded or artificial voice in placing telephone calls to Plaintiff’s cellular

 telephone to which Plaintiff had not consented, in violation of 15 U.S.C §1692d.

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       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit; and

              c.     Such other or further relief as the Court deems proper.

                         COUNT V
     ILLEGAL COLLECTION TECHNIQUES IN VIOLATION OF THE
        FLORIDA CONSUMER COLLECTION PRACTICES ACT

       26.    Plaintiff incorporates Paragraphs 1 through 17.

       27.    Defendant asserted the right to collect a debt by leaving repeated

 telephone messages for Plaintiff without disclosing that it is a debt collector and

 the purpose of its communications when Defendant knew it did not have a legal

 right to use such collection techniques in violation of Fla. Stat. §559.72(9).

       WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

 Plaintiff and against Defendant for:

              a.     Damages;

              b.     Attorney’s fees, litigation expenses and costs of suit;

              c.     declaring that Defendant’s practices violate the FCCPA;

              d.     permanently injoining Defendant from engaging in the

              complained of practices; and

              e.     Such other or further relief as the Court deems proper.


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                          COUNT VI
       HARASSMENT IN VIOLATION OF THE FLORIDA CONSUMER
                 COLLECTION PRACTICES ACT

        28.    Plaintiff incorporates Paragraphs 1 through 17.

        29.    By failing to disclose that it is a debt collector and the purpose of its

  communication, by using an automatic telephone dialing system or pre-recorded or

  artificial voice in placing telephone calls to Plaintiff’s cellular telephone to which

  Plaintiff had not consented, and by telephoning Plaintiff with such frequency as

  can be reasonably be expected to harass, Defendant willfully engaged in conduct

  the natural consequence of which is to harass in violation of Fla. Stat. §559.72(7).

        30.    The FCCPA provides for equitable relief including injunctive relief.

  Berg v. Merchs. Ass'n Collection Div., 586 F. Supp. 2d 1336, 1345, (S.D. Fla.

  2008).

        WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

               a.     Damages;

               b.     Attorney’s fees, litigation expenses and costs of suit;

               c.     declaring that Defendant’s practices violate the FCCPA;

               d.     permanently injoining Defendant from engaging in the

               complained of practices; and

               e.     Such other or further relief as the Court deems proper.



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                          COUNT VII
    VIOLATION OF THE TELEPHONE CONSUMER PROTECTION ACT

         31.    Plaintiff incorporates Paragraphs 1 through 17.

         32.    Defendant placed non-emergency telephone calls to Plaintiff’s cellular

  telephone using an automatic telephone dialing system or pre-recorded or artificial

  voice without Plaintiff’s prior express consent in violation of 47 U.S.C § 227

  (b)(1)(A)(iii).

         WHEREFORE, Plaintiff requests that the Court enter judgment in favor of

  Plaintiff and against Defendant for:

                a.    Damages;

                b.    a declaration that Defendant’s calls violate the TCPA;

                c.    a permanent injunction prohibiting Defendant from placing

                non-emergency calls to the cellular telephone of any person using an

                automatic telephone dialing system or pre-recorded or artificial voice

                without the prior express consent of the called party; and

                d.    Such other or further relief as the Court deems proper.

                                         JURY DEMAND

         Plaintiff demands trial by jury.

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                                            Attorney for Plaintiff
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                                            Ft. Lauderdale, FL 33339
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